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CLERK, U.S. DISTR!CT COURT

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HAL DlSTFl|CT OF GAL|FOHNIA
nr:m nw

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

ANDREW MARSH AND ROLANDO CASE NUMBER
sANCHEZ,
cv 05-3395-PJW
PLAIN'IiFF(s)
V.
COUNTY 0F Los ANGELES, et al.,
JUDGMENT ON THE VERDICT
FOR DEFENDANT(S)
DEFENDANT(s).

 

This action having been tried before the Court sitting with a jury, the Honorable Patrick J - Walsh
Magistrate Judge, presiding; the issues having been duly tried and the jury having duly rendered its verdict.

IT lS ORDERED AND ADJUDGED that the plaintiff(s):

Andrew Marsh and Rolando Sanchez

 

 

take nothing and that the action be dismissed on the men`ts.

 

 

 

Clerk, U. S. District Court

Dated: 3/9"%_/»2»6 /@ ByMP/M

I`Fatrick J . Walsh, U§Hted States Magistrate Judge
At: /O¢'L/~S"A"m~

cc: Counsel of record

 

CV-44 (111‘96) JUDGMENT ON THE VERDICT FOR DEFENDANT(S)

